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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov

In re:

HECTOR Y. FAGUNDO SERRANO,                       Case No. 19-23676-AJC
                                                 Chapter 7
Debtor.
__________________________________/

     SUMMARY OF FIRST AND FINAL APPLICATION FOR ALLOWANCE
       AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
     EXPENSES TO DUNN LAW, P.A., AS COUNSEL TO MARCIA T. DUNN,
  CHAPTER 7 TRUSTEE FOR THE ESTATE OF HECTOR Y. FAGUNDO SERRANO


Name of Applicant:                                     Michael P. Dunn, Esq. and Dunn
                                                       Law, P.A.
Role of Applicant:                                     Counsel to Marcia T. Dunn as Chapter
                                                       7 Trustee
Name of Certifying Professional:                       Michael P. Dunn, Esq.
Date Case Filed (Petition Date):                       October 11, 2019
Date of Application for Employment:                    December 2, 2019 [D.E. 17]
Date of Order Approving Employment:                    December 4, 2019 [D.E. 18]
Date of This Application:                              July 30, 2020
Dates of Services Covered in This Application:         December 2, 2019 through July 30, 2020

Total Funds Recovered for the Benefit of the Estate                               $7,100.00

                       Fees
Gross Fees Requested Under This Application:                                       $4,707.00
Voluntary Fee Reduction:                                                         ($2,307.00)
Net Fees Requested Under This Application:                                         $2,400.00
                     Expenses
Total Reimbursement of Expenses Requested This                                       $63.50
Application
              Net Award Requested:                                                $2,463.50
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
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In re:

HECTOR Y. FAGUNDO SERRANO,                            Case No. 19-23676-AJC
                                                      Chapter 7
Debtor.
__________________________________/

         FIRST AND FINAL APPLICATION FOR ALLOWANCE AND PAYMENT
         OF COMPENSATION AND REIMBURSEMENT OF EXPENSES TO DUNN
         LAW, P.A., AS COUNSEL TO MARCIA T. DUNN, CHAPTER 7 TRUSTEE
               FOR THE ESTATE OF HECTOR Y. FAGUNDO SERRANO

         Michael P. Dunn, Esq. and Dunn Law, P.A. (the “Applicant”) as counsel to Marcia T.

Dunn, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of HECTOR Y. FAGUNDO

SERRANO, applies for final compensation of fees for services rendered and reimbursement of

costs incurred in this Chapter 7 proceeding (the “Application”).        This Application is filed

pursuant to 11 U.S.C. § 330 and Bankruptcy Rule 2016(a) and meets all of the requirements set

forth in the Guidelines on Fee Applications for Professionals in the Southern District of Florida

(the “Guidelines”) incorporated in Local Rule 2016-1(B)(1).

         In accordance with the Guidelines, the following exhibits are annexed to this Application:

         Exhibits “1-A” and “1-B” – Summaries of Professional and Paraprofessional Time

         Exhibit “2” – Summary of Requested Reimbursement of Expenses

         Exhibit “3” – Applicant’s complete time records, in chronological order, by category

code, for the time period covered by this Application. The requested fees are itemized to the

tenth of an hour.

                                         BACKGROUND

         On October 11, 2019, (the “Petition Date”), HECTOR Y. FAGUNDO SERRANO (the




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“Debtor”) commenced the instant bankruptcy case with the filing of a voluntary petition under

Chapter 7, Title 11 of the United States Bankruptcy Code.

        Marcia T. Dunn is the duly appointed Chapter 7 Trustee of the Debtor’s bankruptcy

estate (the “Estate”).

        On November 14, 2019, the Debtor’s § 341 Meeting of Creditors (the “341 Meeting”)

was held and concluded.

         On November 15, 2019, the Trustee file a Report of No Distribution [D.E. 11], and on

November 21, 2019, the Report of No Distribution was withdrawn by the Trustee [D.E. 16].

        On December 4, 2019, upon application by the Trustee [D.E. 17], this Court entered an

Order Granting Ex-Parte Application for Approval of Employment of Michael P. Dunn and

Dunn Law, P.A. as Counsel to Marcia T. Dunn, Chapter 7 Trustee [D.E. 18].

        The Applicant submits this Application, pursuant to 11 U.S.C. §§ 328, 330, 331 and

503(b), Fed.R.Bankr.P. 2016 and the Guidelines.

        The Applicant requests an award of legal fees and the reimbursement of expenses

incurred by the Applicant for services rendered, as counsel to the Trustee, in the amount of

$4,770.50 comprised of (a) $4,707.00 for services rendered during the period of December 2,

2019 through July 30, 2020 (the “Application Period”); and (b) $63.50 as reimbursement for the

actual and necessary expenses incurred by the Applicant during the Application Period.

        This request is the Applicant’s first and final application to the Court for compensation

and reimbursement of expenses for services rendered as counsel to the Trustee. As a result of

total recoveries made to date, the Applicant is making this request for compensation and submits

that funds are available to pay the fees requested herein. No understanding exists between the

Applicant and any other person for the sharing of compensation sought by this Applicant, except

among the partners and associates of the Applicant.




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          The Applicant has expended a total of 18.10 hours during the Application Period in

rendering necessary and beneficial legal services to the Trustee. Exhibits “1-A” and “1-B”

contain a list of the Applicant’s professionals and paraprofessionals who have provided services

to the Trustee during the Application Period, the hourly rate charged by each and a summary of

time expended by each as well as a summary of professional and paraprofessional time by

activity code as required by, and in compliance with, the Guidelines. Exhibit “2” contains a

summary of the Applicant’s total actual and necessary out-of-pocket expenses and

disbursements, on behalf of the Trustee, for which the Applicant seeks reimbursement in

accordance with 11 U.S.C. § 330(a)(2), the Bankruptcy Rules and the Guidelines. The expenses

and disbursement summarized in Exhibit “2” are those which the Applicant typically would

invoice to its non-bankruptcy clients.

          The majority of work in this case was performed by Michael P. Dunn, Joel S. Knee,

Barry S. Turner and their paralegal and legal support staff. Exhibit “3” contains: (i) a daily

description of the services rendered and the hours expended by the attorney and

paraprofessionals of the Applicant who performed services in this case on behalf of the Trustee;

and (ii) a detailed schedule listing of the expenses and disbursements for which the Applicant

seeks reimbursement. The Applicant has prepared Exhibit “3” based on, among other things,

contemporaneous            daily time records maintained by the Applicant's attorneys                                            and

paraprofessionals who rendered services in this case.

          Applicant believes that the requested fees and costs, which total $4,770.50 are

reasonable1 considering the twelve (12) factors enumerated in Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714 (5th Cir. 1974), made applicable to bankruptcy proceedings by In re


1
 However, for the Benefit of the Estate, Applicant takes a voluntary reduction of $2,307.00 in fees for a total fee request of
$2,400.00, plus full reimbursement of costs.




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First Colonial Corp., 544 F.2d 1291 (5th Cir. 1977).

               INDEXING OF TASKS BY ACTIVITY / CATEGORY CODES

       As set forth in the exhibits to this Application, the Applicant has organized its time

records by activity category codes in accordance with the Guidelines. Accordingly, each of the

time entries of the attorneys and paraprofessionals of the Applicant have been indexed into the

categories listed below.

       Case Administration: Coordination and compliance activities, including, but not limited
       to: correspondence with the Trustee; general creditor inquiries; and other tasks not
       otherwise indexed by activity code.

       Asset Analysis & Recovery: Identification and review of potential assets including
       causes of action and non-litigation recoveries.

       Fee/Employment Application: Preparation of employment and fee applications for self;
       motions to establish interim procedures.

                           SUMMARY OF SERVICES PERFORMED

       The following is a Summary of Services Performed on behalf of the Trustee in

connection with this case:

       Case Administration.         During the Application Period, the Applicant assisted and

counseled the Trustee with regards to matters concerning all aspects of the administration of this

case and conducted numerous conferences with the Trustee, and other parties-in-interest with

regards to the general status of the Chapter 7 case. Applicant participated in discussions,

collaborated with various parties, and reviewed documents and information concerning the pre-

petition activities of the Debtor to ascertain the financial position and obligations of the Debtor.

       Applicant has expended 3.6 hours totaling $582.50 in fees under this Application in the

routine management and monitoring of this case as well as ministerial functions such as the

preparation and filing of certificates of service.




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       Asset Analysis and Recovery. The Debtor had a pre-petition personal injury claim (the

“Claim”), and as a result of the bankruptcy filing, the Claim became property of the Estate and

the Trustee asserted the Estate’s right to the Claim.

       Upon the retention of the Applicant as counsel to the Trustee in December 2019,

Applicant assisted special counsel with the prosecution of the Claim, in addition to reviewing,

analyzing, and negotiating a consensual resolution between all involved parties.

       Pursuant to the settlement reached between the parties, the defendant agreed to pay the

Trustee a gross sum of $7,100.00, as full settlement of the Claim. The settlement is more fully

set forth in the Motion to Approve Stipulation to Compromise Controversy [D.E. 36].

       Applicant has expended 10.5 hours totaling $2,997.00 in fees under this Application with

respect to Asset Analysis and Recovery.

       Fee/Employment Application. Applicant assisted with the preparation and filing of

retention application, declaration and order on behalf of: (i) the Applicant, as counsel to the

Trustee; and (ii) Justin Weinstein, Esquire and Weinstein Legal, as special counsel to the

Trustee.

       Applicant has expended 4.5 hours totaling $1,215.00 in fees under this Application in the

preparation, review and filing of retention pleadings upon internal conflict check, and in the

preparation and review of this Application.

                         EVALUATION OF SERVICES RENDERED

       This Application has presented the nature and extent of the professional services the

Applicant has rendered in connection with its representation of the Trustee for which the

Applicant seeks compensation. The recitals set forth in the daily dairies attached hereto

constitute only a summary of the time spent.




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       Under the Bankruptcy Code, the applicable legal standard for determining reasonable

compensation is set forth in 11 U.S.C. § 330, which states that reasonable compensation shall be

based on the nature, the extent, and the value of such services, the time spent on such services,

and the cost of comparable services other than in a case under Title 11 of the United States Code,

and reimbursement for actual, necessary expenses incurred.

       In American Benefit Life Ins. Co. v. Baddock (In re First Colonial Corp.), 544 F.2d 1291

(5th Cir.), cert denied, 431 U.S. 904 (1977), the court enumerates twelve factors a bankruptcy

court should evaluate in awarding fees. First Colonial remains applicable in the Eleventh Circuit

to the determination of reasonableness of fees to be awarded under the Bankruptcy Code. Grant

v. George Schumann Tire & Battery Company, 908 F.2d 874 (11th Cir. 1990); Collier on

Bankruptcy & 330.05[2][a] at 330-33 through 330-37 (L. King 15th ed. 1991); See also Bonner

v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981). The twelve factors are:

       (1) The time and labor required;

       (2) The novelty and difficulty of the questions presented;

       (3) The skill required to perform the legal services properly;

       (4) The preclusion from other employment by the attorney due to acceptance of the case;

       (5) The customary fee for similar work in the community;

       (6) Whether the fee is fixed or contingent;

       (7) The time limitations imposed by the client or circumstances;

       (8) The amount involved and results obtained;

       (9) The experience, reputation and ability of the attorneys;

       (10) The undesirability of the case;

       (11) The nature and length of the professional relationship with the client; and




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       (12) Awards in similar cases.

First Colonial, 544 F.2d at 1298-99.

       Based on the standards set forth in 11 U.S.C. § 330 and First Colonial, the Applicant

believes that the fair and reasonable value of its services rendered during the period covered by

this Application is the total amount of $2,400.00 (which includes a voluntary reduction of

$2,307.00),, plus expenses of $63.50. Dunn Law, P.A. respectfully requests that it be granted all

fees and expenses requested herein based on the nature and results of its representation of the

Trustee, the time invested in this case, and the necessity and reasonableness of the fees and

expenses incurred.

                                The Time and Labor Required

       The foregoing summary, together with the exhibits attached hereto, details the time,

nature and extent of the professional services of the Applicant rendered for the benefit of the

Estate during the period covered by this Application. The total number of hours expended (18.1)

reveals the time devoted to this matter by the Applicant which have arisen in this case during the

period covered by this Application. Exhibit “1” reflects the time actually expended by the

Applicant.

                     The Novelty and Difficulty of the Services Rendered

       The issues which have arisen in this case during the period encompassed by this

Application presented matters that required the services and skill of an experienced bankruptcy

attorney. The Applicant spent considerable time reviewing or drafting discovery, pleadings and

documents.




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                         Skill Requisite to Perform Services Properly

       In rendering services to the Trustee, the Applicant demonstrated substantial legal skill

and expertise in the areas of bankruptcy, commercial law, Debtors-creditor rights, secured

transactions, and negotiation.

       The Preclusion of Other Employment by Applicant Due to Acceptance of Case

       The Applicant devoted substantial time in the representation of the Chapter 7 Trustee as

more fully appears on Exhibit “3.” The Applicant is aware of no other specific employment

which was precluded as a result of its accepting this case, but had the Applicant not accepted this

employment, the time spent in the case would have been spent on other matters which would pay

an hourly compensation on a current basis.

                                        The Customary Fee

       The hourly rate charged by the Applicant as set forth in Exhibits “1” and “2” ranges

from $400 to $425 per hour for the attorneys and $175 to $215 per hour for the

paraprofessionals, throughout the Application Period, which is customary for professionals and

paraprofessionals in the Southern District of Florida of similar skill and experience.

                                 Whether Fee is Fixed or Contingent

       The Applicant's compensation in this matter is subject to approval of the Court and

therefore contingent. The Court should consider this factor, which militates in favor of a fee

award in the amount requested. The amount requested is consistent with the fee which the

Applicant would charge its clients in other non-contingent, bankruptcy and commercial cases.

                Time Limitations Imposed By Client or Other Circumstances

       The services performed by the Applicant were performed under time constraints imposed

by the Chapter 7 Trustee. Therefore, time had to be expended within short periods of time to




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produce pleadings, review documents and perform research in connection with the examination

of the Debtors, and to prepare settlement documents predicated upon the Chapter 7 Trustee’s

proposed actions to resolve the issues in this Estate. The circumstances of this case occasionally

imposed serious time constraints on the Applicant due to the necessity for rapid resolution of

significant issues.

                      The Experience, Reputation, and Ability of Applicant

        The Applicant is well-known and the attorney working on this case is experienced in

matters of this kind.     Undersigned counsel has significant bankruptcy experience and has

appeared numerous times before this Court on other matters. The Applicant’s reputation and

abilities are well known to this Court.        The Applicant enjoys a fine reputation and has

demonstrated substantial ability in the fields of bankruptcy, litigation, and creditors’ rights.

                                    Undesirability of the Case

        The representation of the Chapter 7 Trustee and of this case was in no way undesirable.

The Applicant is privileged and honored to have the opportunity to represent the Trustee and to

appear before the Court in this case.

                  Nature and Length of Professional Relationship with Client

        The Applicant has represented the Trustee in many other bankruptcy cases and matters

wholly unrelated to the Debtor or this case.

                                     Awards in Similar Cases

        The amount requested by the Applicant is reasonable in terms of awards in cases of

similar magnitude and complexity. The compensation which the Applicant requests comports

with the mandate of the Bankruptcy Code, which directs that services be evaluated in light of

comparable services performed in non-bankruptcy cases in the community. The fees incurred by




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the Applicant ($4,707) reflect an average hourly rate of $260 for 18.1 hours of service.

Considering the results obtained during the periods covered by this Application, this rate is

appropriate.

                                          CONCLUSION

          WHEREFORE, the Applicant respectfully requests the Court to enter an order (i)

awarding the Applicant the sum of $2,400.00 as compensation for services rendered, and $63.50

as reimbursement for actual and necessary expenses incurred during the course of Applicant’s

representation of the Trustee during the Application Period; (ii) authorizing and directing the

Trustee to pay the Applicant the aggregate sum of $2,463.50 upon entry of an Order awarding

the fees requested in this Application; (iii) granting such further relief the Court deems just and

proper.

Dated: July 30, 2020                           Respectfully submitted,

                                               DUNN LAW, P.A.
                                               Counsel for Marcia T. Dunn, Chapter 7 Trustee
                                               66 West Flagler Street, Suite 400
                                               Miami, Florida 33130
                                               Phone: (786) 433-3866 | | Fax: (786) 260-0269
                                               michael.dunn@dunnlawpa.com

                                               By: /s/ Michael P. Dunn          d
                                                  Michael P. Dunn, Esq.
                                                  Florida. Bar No. 100705



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 30, 2020, a true and correct copy of the foregoing
was served via the Court’s CM/ECF electronic transmission system to all interested parties who
are currently on the list to receive e-mail notice and service for this case.
                                               By: /s/ Michael P. Dunn          d
                                                  Michael P. Dunn, Esq.
                                                  Florida. Bar No. 100705




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                                 EXHIBIT 1-A
                Summary of Professional and Paraprofessional Time
  Name of Paraprofessional  Total Hours      Hourly Rate*                 Total Fees

     Michael P. Dunn, Esq.           3.4             $400-425             $1,422.50
      Barry S. Tuner, Esq.           0.6               $425                $255.00
       Joel S. Knee, Esq.            1.8               $425                $765.00
   Maria D. Zucker, Paralegal        6.3               $215               $1,354.50
Rosa Basnueva, Legal Assistant       6.0               $175                $910.00
           TOTALS                 18.1 Hours      ($260/Blended)          $4,707.00

                                   EXHIBIT 1-B
     Summary of Professional and Paraprofessional Time By Activity Code Category

ACTIVITY CODE CATEGORY: FEE/EMPLOYMENT APPLICATIONS
 Name of Professional/Para Total Fees Total Hours Hourly Rate
     Michael P. Dunn, Esq.         $505.00           1.2                $400-425
     Barry S. Turner, Esq.         $255.00           0.6                  $425
Rosa Basnueva, Legal Assistant     $455.00           2.7                  $175
           TOTALS                 $1,215.00          4.5


ACTIVITY CODE CATEGORY: ASSET ANALYSIS & RECOVERY
 Name of Professional/Para Total Fees Total Hours Hourly Rate
     Michael P. Dunn, Esq.         $790.00           1.9                $400-425
       Joel S. Knee, Esq.          $765.00           1.8                  $425
   Maria D. Zucker, Paralegal     $1,354.50          6.3                  $215
           TOTALS                 $2,909.50          10.0


ACTIVITY CODE CATEGORY: CASE ADMINISTRATION
  Name of Paraprofessional Total Fees Total Hours                     Hourly Rate
     Michael P. Dunn, Esq.         $127.50           0.3                $400-425
Rosa Basnueva, Legal Assistant     $455.00           3.3                  $175
           TOTAL                   $582.50           3.6
*Rates subject to annual change




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                               EXHIBIT 2
          Summary of Requested Reimbursement of Expenses

Filing Fees and Electronic Court Filing Charges                    $0.00
Process Service Fees                                               $0.00
Witness Fees                                                       $0.00
Court Reporter Fees and Transcripts                                $0.00
Certification of Pleading Documents                                $0.00
Photocopies (In-House) 63 pages @ $0.15                            $9.45
Photocopies/Mailing (Outsourced)                                  $36.00
Postage                                                           $18.05
Overnight Delivery Charges                                         $0.00
Outside Courier/Messenger Services                                 $0.00
Long Distance Calls                                                $0.00
Facsimile Transmissions                                            $0.00
Computerized Legal Research                                        $0.00
Out of District Travel                                             $0.00
Other Permissible Expenses                                         $0.00
TOTAL EXPENSE REIMBURSEMENT                                       $63.50




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                                        CERTIFICATION

           1.    I am the professional with responsibility in this case for compliance with the

current “Guidelines on Fee Applications for Professionals in the Southern District of Florida”

(the “Guidelines”).

           2.    I have read the application for compensation and reimbursement of expenses (the

“Application”). The Application complies with the Guidelines, and the fees and expenses sought

fall within the Guidelines, except as specifically noted in this certification and described in the

Application.

           3.    The fees and expenses sought are billed at rates and in accordance with the

practices customarily employed by the Applicant and generally accepted by the Applicant’s

clients.

           4.    In seeking reimbursement for the expenditures, the Applicant is seeking

reimbursement only for the actual expenditure and has not marked up the actual cost to provide a

profit or to recover the amortized cost of investment in staff time or equipment or capital outlay

(except to the extent that the Applicant has elected to charge for in-house photocopies and

outgoing facsimile transmissions at the maximum rates permitted by the Guidelines).

           5.    In seeking reimbursement for any service provided by a third party, the Applicant

is seeking reimbursement only for the amount actually paid by the Applicant to the third party.

           6.    There are no variances in the Application with the provisions of the Guidelines.

                                                       /s/ Michael P. Dunn
                                                       Michael P. Dunn, Esq.
                                                       Florida Bar No. 100705




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                                                                                                                     Date:                         7/30/2020
       Dunn Law PA                                                                                                   Case No.:                 19-23676-AJC

        66 West Flagler Street                                                                                       Matter:       Serrano, Hector Y. Fagundo
        Suite 400
        MIami, 33130




       Time Entries


        Time Entries                                                                Billed By                Rate              Hours                    Sub

        Manage data/files                                                           RB                     $175.00              0.50                  $87.50
        12/2/2019
        Receipt and review of email from Trustee regarding new asset case;
        create case e-file folder; create billing matter; revise asset analysis
        chart with initial case information; review petition schedule D; calendar
        all necessary deadlines.

        Draft/revise                                                                RB                     $175.00              0.40                  $70.00
        12/2/2019
        Draft, revise firm employment application; circulate same for execution.

        Review / Revise                                                             MPD                    $400.00              0.20                  $80.00
        12/2/2019
        Review and revise employment application; execute employment
        affidavit.


        Review / Revise                                                             RB                     $175.00              0.20                  $35.00
        12/2/2019
        Review, revise, Application to Employ Dunn Law as Counsel to Chapter
        7 Trustee.


        Communicate (other outside counsel)                                         JSK                    $425.00              0.70                 $297.50
        12/3/2019
        Email to Justin Weinstein, Esq regarding personal injury claim of
        Debtor, and his possible representation of the Trustee as special
        counsel.


        Review/analyze                                                              MDZ                    $215.00              2.00                 $430.00
        12/3/2019
        Review Trustee's initial case analysis; additional review and analysis of
        Debtor's schedules and case filing, including review of recent auto
        accident report.




Invoice #1813044                                                                                                                                         Page 1 of 6
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        Time Entries                                                              Billed By                Rate    Hours      Sub

        Drafted                                                                   JSK                    $425.00    1.10   $467.50
        12/3/2019
        Drafted objection to exemptions, email to R. Basnueva regarding filing


        Certificate of Service                                                    RB                     $175.00    0.30    $52.50
        12/4/2019
        Review Order Granting Application to Employ Dunn Law as Trustee's
        Counsel [ECF No. 18]; Draft,Certificate of Service for same.

        Review                                                                    RB                       $0.00    0.10     $0.00
        12/4/2019
        Review case status and trustee's objection deadlines.

        Review / Revise                                                           RB                     $175.00    0.30    $52.50
        12/4/2019
        Review, revise, Trustee's Objection to Claimed Exemptions and Motion
        for Turnover.


        Certificate of Service                                                    RB                     $175.00    0.30    $52.50
        12/4/2019
        Review Notice of Hearing [ECF No. 21]; Draft Certificate of Service for
        same.


        Communicate (other external)                                              MDZ                    $215.00    0.20    $43.00
        12/11/2019
        Follow up email to Justin Weinstein, PI attorney for Debtor.


        Correspondence                                                            MPD                    $400.00    0.10    $40.00
        12/12/2019
        review correspondence with PI counsel regarding case update


        Review                                                                    MDZ                    $215.00    0.20    $43.00
        12/18/2019
        Review response from PI counsel regarding Debtor's auto accident
        claim.

        Research                                                                  MDZ                    $215.00    0.70   $150.50
        12/18/2019
        Review Debtor's bank statements, and email Debtor's counsel seeking
        additional documents and information.


        Review/analyze                                                            MDZ                    $215.00    0.50   $107.50
        12/18/2019
        Brief review of schedules filed by Esther Serrano in relation to those
        filed by Hector Serrano, particularly in relation to joint vehicle
        ownership.


        Communicate (other external)                                              MDZ                    $215.00    0.10    $21.50
        12/19/2019
        Email from Debtor's counsel regarding documents and information
        requested.


        Review/analyze                                                            MDZ                    $215.00    0.30    $64.50
        12/19/2019
        Review savings account statements and 2017 Chevy Malibu info
        received from Debtor's counsel.


        Drafted                                                                   MDZ                    $215.00    0.50   $107.50
        12/30/2019
        Drafted proposed agreed ex-parte order on Trustee’s Objection to
        Debtor’s Claimed Exemptions and Valuation of Scheduled Property,
        and Motion for Turnover of Non-Exempt Assets.




Invoice #1813044                                                                                                              Page 2 of 6
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        Time Entries                                                              Billed By                Rate    Hours      Sub

        Correspondence                                                            MPD                    $400.00    0.60   $240.00
        12/30/2019
        Review file and schedules; review and reply to emails with Debtor's
        counsel regarding objection to exemption and motion for turnover;
        review revise proposed agreed order; emails exchanged with debtor's
        counsel regarding same

        Communicate (in firm)                                                     RB                       $0.00    0.10     $0.00
        1/6/2020
        Confer with MPD regarding hearing on Trustee's Objection to Claimed
        Exemptions.


        Certificate of Service                                                    RB                     $175.00    0.30    $52.50
        1/6/2020
        Review Order on Trustee's (1) Objection to Debtor's Claimed
        Exemptions and Valuation of Scheduled Property, and (2) Motion for
        Turnover of Non-Exempt Assets [ECF No. 23]; Draft Certificate of
        Service for same.


        Communicate (in firm)                                                     RB                       $0.00    0.10     $0.00
        1/6/2020
        Email to MPD and MDZ regarding upcoming 727 deadline.

        Communicate (in firm)                                                     MDZ                    $215.00    0.20    $43.00
        1/6/2020
        Review deadline to object to discharge and employment of P.I. counsel.

        Drafted                                                                   RB                     $175.00    1.00   $175.00
        1/7/2020
        Drafted application to employ special counsel, proposed order and
        affidavit of special counsel; emailed same to MPD for approval.


        Communicate (in firm)                                                     RB                       $0.00    0.10     $0.00
        1/8/2020
        Email to MPD regarding trustee's deadline to object to debtor's
        discharge.


        Draft/revise                                                              MPD                    $425.00    0.40   $170.00
        1/13/2020
        Review revise retention application for special personal injury counsel

        Communicate (other outside counsel)                                       RB                     $175.00    0.10    $17.50
        1/14/2020
        Email to special counsel with copy of employment affidavit for
        execution.

        Review / Revise                                                           RB                     $175.00    0.10    $17.50
        1/14/2020
        Review and revise affidavit of special counsel.


        Emails                                                                    RB                     $175.00    0.10    $17.50
        1/14/2020
        Emails exchanged with special counsel regarding revised employment
        affidavit.


        Review / Revise                                                           RB                     $175.00    0.20    $35.00
        1/17/2020
        Review, revise Trustee's Application to Employ Special Counsel.

        Certificate of Service                                                    RB                     $175.00    0.20    $35.00
        1/17/2020
        Review Notice of Hearing of Trustee's Application to Employ Special
        Counsel [ECF No. 27]; Draft, Certificate of Service for same.




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        Time Entries                                                              Billed By                Rate    Hours      Sub

        Emails                                                                    RB                       $0.00    0.10     $0.00
        1/17/2020
        Emails exchanged with office of special counsel regarding employment.


        Hearing Preparation                                                       BT                     $425.00    0.60   $255.00
        2/10/2020
        Prepared hearing binder for hearing on Application to Employ Special
        Counsel


        Hearing Preparation                                                       RB                     $175.00    0.10    $17.50
        2/10/2020
        Prepared hearing binder for hearing on Trustee's Application to Employ
        Special Counsel.

        Review / Revise                                                           RB                     $175.00    0.10    $17.50
        2/11/2020
        Review, and revise Order Granting Trustee's Application to Employ
        Special Counsel.


        Plan and prepare for                                                      MPD                    $425.00    0.60   $255.00
        2/11/2020
        Prepare for and attend hearing on application to employ special counsel


        Correspondence                                                            MPD                    $425.00    0.20    $85.00
        2/17/2020
        Correspondence with special counsel regarding retention as SC and
        demand to defendant

        Certificate of Service                                                    RB                     $175.00    0.20    $35.00
        2/17/2020
        Review Order Granting Trustee's Application to Employ Special Counsel
        [ECF No. 31]; Draft Certificate of Service for same.


        Review/analyze                                                            MDZ                    $215.00    0.80   $172.00
        2/18/2020
        Review documents responsive to Trustee's Rule 2004 Examination
        Duces Tecum, and email with Debtor's counsel for missing items.

        Correspondence                                                            MPD                    $425.00    0.20    $85.00
        3/5/2020
        Correspondence regarding PI claim and case administration

        Communicate (other external)                                              MDZ                    $215.00    0.20    $43.00
        3/18/2020
        Re-review documents produced by Debtor, and email to Debtor's
        counsel seeking bank statements through year-end 2019 (no bank
        statements as of Petition Date provided).


        Review                                                                    MDZ                    $215.00    0.10    $21.50
        4/9/2020
        Review email from PI Counsel on status of claim and potential
        settlement.

        Correspondence                                                            MPD                    $425.00    0.30   $127.50
        4/9/2020
        Emails exchanged with personal injury counsel regarding settlement
        and process; discuss same and claims issues with MZ


        Review                                                                    MDZ                    $215.00    0.20    $43.00
        4/9/2020
        Review schedules and amendments, and email Debtor's counsel for
        confirmation that all medical claims are scheduled and extend offer for
        Debtor to purchase the PI claim from the Estate.




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                                  Case 19-23676-AJC                      Doc 40         Filed 07/30/20    Page 19 of 22
        Time Entries                                                              Billed By                Rate    Hours        Sub

        Correspondence                                                            MPD                    $425.00    0.20     $85.00
        4/9/2020
        Additional correspondence with PI counsel; internal correspondence
        with MZ and RB regarding information from debtor


        Correspondence                                                            MPD                    $425.00    0.10     $42.50
        4/10/2020
        correspondence with special counsel regaridng administering PI claim
        and settlement


        Correspondence                                                            MPD                    $425.00    0.10     $42.50
        4/13/2020
        Correspondence with debtor's counsel regarding case issues.


        Communicate (other external)                                              MDZ                    $215.00    0.20     $43.00
        4/15/2020
        Telephone call with Debtor's counsel regarding Debtor's rejection to
        purchase personal injury claim from the Estate.


        Communicate (in firm)                                                     MDZ                    $215.00    0.10     $21.50
        4/15/2020
        Discuss setting claim bar date with respect to pending settlement of PI
        claim.


        Correspondence                                                            MPD                    $425.00    0.20     $85.00
        4/21/2020
        Correspondence with PI counsel regarding settlement


        Communicate (in firm)                                                     RB                       $0.00    0.10      $0.00
        5/6/2020
        Case status review with MDZ regarding preparation of personal injury
        settlement motion.


        Emails                                                                    RB                       $0.00    0.10      $0.00
        5/6/2020
        Emails exchanged with MPD regarding preparation of 9019 motion.


        Draft/Review/Revise                                                       RB                     $175.00    0.50     $87.50
        5/7/2020
        Draft, review and revise motion and proposed for settlement of personal
        injury claim; emailed same to MPD for approval.


        Review / Revise                                                           RB                     $175.00    0.20     $35.00
        5/12/2020
        Review, and revise Motion to Approve Settlement and Compromise of
        Personal Injury Claim.

        Review / Revise                                                           RB                     $175.00    0.10     $17.50
        6/3/2020
        Review, and revise Order Granting trustee's Motion to Approve
        Settlement of Personal Injury Claim.


        Emails                                                                    RB                       $0.00    0.10      $0.00
        6/3/2020
        Emails exchanged with special counsel regarding status of case.


        Correspondence                                                            MPD                    $425.00    0.20     $85.00
        6/3/2020
        Review order on approval of PI settlement; correspondence with PI
        counsel regarding same

                                                                                                   Time Entries    18.10   $4,707.00
                                                                                                          Total




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                                                                          Total (USD)   $4,707.00

                                                                                 Paid       $0.00

                                                                             Balance    $4,707.00



       Timekeeper Totals
        Name                              Rate                 Hours
                                                                                            Total

        RB                              $151.67                    6.00                   $910.00


        MPD                             $418.38                    3.40                  $1,422.50


        MDZ                             $215.00                    6.30                  $1,354.50


        BT                              $425.00                    0.60                   $255.00


        JSK                             $425.00                    1.80                   $765.00




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                                                                                                               Date:                        7/30/2020
       Dunn Law PA                                                                                             Case No.:                19-23676-AJC

        66 West Flagler Street                                                                                 Matter:      Serrano, Hector Y. Fagundo
        Suite 400
        MIami, 33130




       Expenses


        Expense                                                                                        Price              Qty                    Sub

        Copying                                                                                        $0.15             12.00                  $1.80
        12/2/2019
        Application to Employ Dunn Law as Counsel to Chapter 7 Trustee.


        Postage                                                                                        $0.65              1.00                  $0.65
        12/2/2019
        Application to Employ Dunn Law as Counsel to Chapter 7 Trustee.


        Copying                                                                                        $0.15              4.00                  $0.60
        12/4/2019
        Order Granting Application to Employ Dunn Law as Trustee's Counsel [ECF No. 18].


        Postage                                                                                        $0.50              1.00                  $0.50
        12/4/2019
        Order Granting Application to Employ Dunn Law as Trustee's Counsel [ECF No. 18].


        Copying                                                                                        $0.15              5.00                  $0.75
        12/4/2019
        Trustee's Objection to Claimed Exemptions and Motion for Turnover and Notice of Hearing.


        Postage                                                                                        $0.50              0.50                  $0.25
        12/4/2019
        Trustee's Objection to Claimed Exemptions and Motion for Turnover and Notice of Hearing.


        Copying                                                                                        $0.15              3.00                  $0.45
        1/6/2020
        Order on Trustee's (1) Objection to Debtor's Claimed Exemptions and Valuation of Scheduled
        Property, and (2) Motion for Turnover of Non-Exempt Assets [ECF No. 23].


        Postage                                                                                        $0.50              1.00                  $0.50
        1/6/2020
        Order on Trustee's (1) Objection to Debtor's Claimed Exemptions and Valuation of Scheduled
        Property, and (2) Motion for Turnover of Non-Exempt Assets [ECF No. 23].




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        Expense                                                                                              Price                 Qty     Sub

        Copying                                                                                              $0.15            15.00       $2.25
        1/17/2020
        Trustee's Application to Employ Special Counsel.


        Postage                                                                                              $0.65             1.00       $0.65
        1/17/2020
        Trustee's Application to Employ Special Counsel.


        Copying                                                                                              $0.15            20.00       $3.00
        2/10/2020
        Hearing binder documents for hearing on Trustee's Application to Employ Special Counsel.


        Copying                                                                                              $0.15             4.00       $0.60
        2/17/2020
        Order Granting Trustee's Application to Employ Special Counsel [ECF No. 31].


        Postage                                                                                              $0.50             1.00       $0.50
        2/17/2020
        Order Granting Trustee's Application to Employ Special Counsel [ECF No. 31].


        Outside printing                                                                                    $31.50             1.00      $31.50
        5/12/2020
        Motion to Approve Settlement of Personal Injury Claim.


        Postage                                                                                              $7.50             1.00       $7.50
        5/12/2020
        Motion to Approve Settlement of Personal Injury Claim.


        Outside printing                                                                                     $4.50             1.00       $4.50
        6/3/2020
        Order Granting Trustee's Motion To Approve Settlement and Compromise of Personal Injury
        Claim [ECF No. 37].


        Postage                                                                                              $7.50             1.00       $7.50
        6/3/2020
        Order Granting Trustee's Motion To Approve Settlement and Compromise of Personal Injury
        Claim [ECF No. 37].


                                                                                                   Expenses Total:            72.50      $63.50




                                                                                                                     Total (USD)         $63.50

                                                                                                                            Paid          $0.00

                                                                                                                        Balance          $63.50




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